        Case 1:13-cv-01055-JB-KBM Document 1 Filed 10/28/13 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

TERESSA JANETTE GALLEGOS, Individually and as
Personal Representative of the ESTATE OF
JOSEPH ORAN VAN WINKLE, Deceased;
and MARY ANN VAN WINKLE,

                      Plaintiffs,

v.                                                  Cause No.

MAUREEN WOOD, M.D.; and
MEDICAL DOCTOR ASSOCIATES, LLC,

                      Defendants.

                                    NOTICE OF REMOVAL

       COME NOW the Defendants, Maureen Wood, M.D. (“Dr. Wood”), and Medical Doctor

Associates, LLC (“MDA”), sometimes jointly referred to herein as “Defendants,” appearing by

and through their attorneys of record, Brown & Gay, P.C. (Remo E. Gay and Melissa A. Brown),

and hereby timely file this Notice of Removal, removing Cause No. D-101-CV-2013-02530 from

the First Judicial District, County of Santa Fe, State of New Mexico, to this Court pursuant to 28

U.S.C. §§ 1332(a)(1-2) and 1441(a), based upon complete diversity of citizenship. The grounds

for removal are as follows:

       I.      Procedural Background

       1.      On September 25, 2013, the Plaintiffs, Teressa Janette Gallegos, Individually and

as Personal Representative of the Estate of Joseph Oran Van Winkle, Deceased, and Mary Ann

Van Winkle, filed their Original Complaint for Wrongful Death Damages Due to Medical




                                              Page 1
                                        Notice of Removal
        Case 1:13-cv-01055-JB-KBM Document 1 Filed 10/28/13 Page 2 of 4



Malpractice (“Complaint”) against Defendants in the First Judicial District, County of Santa Fe,

State of New Mexico, being said cause number D-101-CV-2013-02530.

       2.      Plaintiffs served their Complaint upon Dr. Wood, via personal service on

September 28, 2013 and, therefore, this Removal is timely filed.            Plaintiffs served their

Complaint upon MDA’s registered agent in New Mexico on September 30, 2013 and, therefore,

this Removal is timely filed. True and correct copies of all pleadings served on both Defendants

are attached hereto as Exhibit “A.”

       II.     Factual Background

       3.      Based upon present knowledge, belief, understanding, and judicial admission, the

Plaintiffs are all residents of the State of New Mexico. See, Plaintiffs’ Complaint at paragraph

1.

       4.      Also based upon information and belief, the Plaintiffs claim damages against

Defendants in excess of $75,000.00, excluding costs and interest. See, generally, Plaintiffs’

Complaint.

       5.      Plaintiffs also claim that the alleged tortious acts by Dr. Wood were committed in

the County of Bernalillo, State of New Mexico. See, generally, Plaintiffs’ Complaint.

       6.      Dr. Wood is a resident of the State of New Jersey, and MDA is a foreign limited

liability company, as is judicially-admitted by the Plaintiffs pursuant to paragraph 1 of the

Complaint.

       III.    Diversity Jurisdiction

       7.      Defendants hereby remove the above-captioned and numbered cause on the basis

of diversity jurisdiction under 28 U.S.C. § 1332(a)(1) and (2), which reads, in pertinent part:




                                               Page 2
                                         Notice of Removal
        Case 1:13-cv-01055-JB-KBM Document 1 Filed 10/28/13 Page 3 of 4



               “The district courts shall have original jurisdiction of all civil
               actions where the matter in controversy exceeds the sum or value
               of $75,000, exclusive of interest and costs, and is between –

                       (1)    citizens of different States;
                       (2)    citizens of a State and citizens or subjects of a
                              foreign state . . .”

       8.      Because Plaintiffs are all residents of the State of New Mexico, and since Dr.

Wood is a resident of the State of New Jersey and MDA is a foreign limited liability company,

and because the amount in controversy exceeds $75,000.00, exclusive of interest and costs,

removal to Federal Court is appropriate.

       IV.     Proper Venue and Compliance With Removal Procedure

       9.      Pursuant to 28 U.S.C. § 1441(a), venue of the removed action is proper in this

Court as the district and division embracing the place where the state action is pending.

       10.     Defendants will promptly provide Plaintiffs written Notice of the filing of this

Notice of Removal, as required by 28 U.S.C. § 1446(d). Defendants will also promptly file a

copy of this Notice of Removal with the Clerk of the First Judicial District Court, County of

Santa Fe, State of New Mexico, where the action is currently pending, pursuant to 28 U.S.C. §

1446(d).

       11.     True and correct copies of all process and pleadings served upon Defendants in

the state court action are also being filed with this Notice as required by 28 U.S.C. § 1446(a), and

are attached hereto.    Defendants will timely file, within thirty days, legible copies of all

pleadings filed with the state court as required by D.N.M.LR-Civ. 81.1(a).

       12.     Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is filed within thirty (30)

days after service of the initial pleading setting forth a removable claim, and within one (1) year

from the commencement of the lawsuit.


                                               Page 3
                                         Notice of Removal
        Case 1:13-cv-01055-JB-KBM Document 1 Filed 10/28/13 Page 4 of 4



       WHEREFORE, the Defendants, Maureen Wood, M.D., and Medical Doctor Associates,

LLC, hereby remove Cause No. D-101-CV-2013-02530 from the First Judicial District, County

of Santa Fe, State of New Mexico, on this 25th day of October, 2013.

                                    BROWN & GAY, P.C.


                                    By      /s/ Remo E. Gay
                                            Remo E. Gay
                                            Melissa A. Brown
                                            Attorneys for Defendants Maureen Wood, M.D.
                                            and Medical Doctor Associates, LLC
                                            3810 Osuna Road NE, Ste. 1
                                            Albuquerque, New Mexico 87109-4417
                                            (505) 842-5715
                                            (505) 842-5713 (facsimile)


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused service of the foregoing via Facsimile and Certified
Mail, Return Receipt Requested to the following counsel of record this 28th day of October,
2013:

Doug Perrin, Esq.
THE PERRIN LAW FIRM
1322 Paseo de Peralta
Lower Level
Santa Fe, NM 87501
(505) 989-8800
(214) 646-6117 Facsimile
dougperrin@perrinlaw.org

                                                    /s/ Remo E. Gay
                                                   Remo E. Gay




                                             Page 4
                                       Notice of Removal
